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COLUMBUS e CLEVELAND

CINCINNATI-DAYTON March 17, 2011
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www. bricker. com Mr. Bradley H. Harris

info@bricker.com c/o Adler Winston, Inc.
13501 Icot Blvd.

Joseph R. Dreitler :

614,227 .2347 Suite ! 10 .

jdreitler@bricker.com Clearwater, Florida 33760

Re: | Misuse of Harry Winston Trademark

Dear Mr. Harris:

We act as outside trademark counsel to Harry Winston, Inc. and its
related companies ("HWI") in connection with trademark, copyright and
internet matters.

As you are no doubt aware, there are few names more famous and
renowned in the world of fine jewelry than the name “Harry Winston”, and
few trademarks more widely-recognized for jewelry than Winston, the House
of Winston and the Harry Winston trademarks. Founded by Harry Winston in
1932, the House of Harry Winston invented modern couture jewelry as it
exists today. The Winston reputation was built on unparalleled quality,
exquisite design and fine craftsmanship.

Over the years Harry Winston became known as the "Jeweler to the
Stars." Harry Winston did business with royalty, famous families (such as the
Rockefellers) and countless Hollywood stars and world class athletes.
Although the prices of some original and one-of-a-kind Harry Winston
jewelry creations often exceed a million dollars, the Winston name has
become well-known to the general public through its promotions at functions
such as the annual Academy Awards of Motion Picture Arts and Sciences
("Oscars"), where Harry Winston achieved renown starting in 1941 by
loaning millions of dollars worth of jewels to the celebrity actresses — a
practice that continues to this day.

EXHIBIT

 

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HWI owns numerous trademarks and registrations in connection with its fine
jewelry, including Federal Trademark Reg. Nos. 848,629, 1,747,040, 3,355,622 and others,
of WINSTON and HARRY WINSTON for fine jewelry, watches and gemstones. The
Winston trademarks have been extensively and continually used, promoted and advertised
by HWI — indeed, the WINSTON mark has been used for more than seventy (70) years on
jewelry and polished diamonds, and the HARRY WINSTON mark has been used for over
sixty (60) years on jewelry, diamonds, watches, and related products. As a result, these
marks have become famous and are relied upon by consumers to identify genuine Harry
Winston products.

It has come to our attention that you set up a company in Florida called Adler
Winston which deals in fine and selling jewelry and gems, and according to your website it
states “for manufacturing rough diamonds in white and fancy colors to estate jewelry and
watch sales”. This is the identical type of business of Harry Winston. We recently learned
that you have a website that operates promoting Adler Winston through a reference to
Harry Winston on a Google search.

We subsequently retained an investigator who contacted you on March 10, 2011 to
discuss the fact that your company is called Adler Winston, but your name is Bradley
Harris. According to our investigator, you stated that you came up with the name Adler
Winston because “Adler is a big jewelry company in the United States and Harry Winston
is also a big jewelry company, so you put the names together to form Adler Winston.”

We believe that your adoption of WINSTON as a surname for your business,
especially given that you are now operating on the internet and showing up in searches for
jewelry, dilutes the distinctiveness of the famous Winston trademarks, could confuse Harry
Winston consumers into believing that you are affiliated with HWI or that you are
authorized or licensed by HWI, which is false. In short, your adoption of the Winston
surname for jewelry in our opinion constitutes trademark infringement, unfair competition,
passing off and dilution under federal trademark law. For these reasons, we request that
you immediately change your name to delete use of “Winston” as a surname.

Harry Winston, Inc. would like to resolve this matter in an amicable fashion and
would give you a reasonable time (until the end of the year) to change the name to delete
“Winston” from your tradename. However, if you refuse to cooperate and force us to
pursue this matter through other means, we will have to seek all of various remedies

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permitted by law. We hope that you will agree with our request and comply with them in a
prompt manner. We look forward to hearing from you at the earliest time.

Sincerely,

Gk 10. Nhltita

Joseph R. Dreitler

JRD:mps
cc: Mary R. True, Esq.

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